UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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THE UNITED STATES OF AMERICA,
                                                                          OPINION AND ORDER
                 v.
                                                                          25-CR-14 (AMD)
SVETLANA DALI,

                                            Defendant.
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JOSEPH A. MARUTOLLO, United States Magistrate Judge:

         Defendant Svetlana Dali is charged with being a stowaway on an aircraft in violation of 18

U.S.C. § 2199. Following a bail hearing, the Court granted the Government’s motion to release

Defendant subject to multiple strict conditions, including that Defendant be subject to GPS

location monitoring, abide by a curfew at an assigned residence, and be restricted in travel. On

December 15, 2024, United States Pretrial Services learned that Defendant cut off her GPS

location monitoring bracelet and absconded. Following this Court’s issuance of an arrest warrant,

Defendant was subsequently apprehended by officials and detained following a hearing in the

Western District of New York.

         For the reasons set forth at the January 15, 2025 detention hearing in the Eastern District

of New York, and for the reasons explained below, the Court revokes Defendant’s release and

enters a permanent order of detention pursuant to 18 U.S.C. § 3148(b), as the Court finds that there

is clear and convincing evidence that Defendant violated multiple conditions of her release and

that Defendant is unlikely to abide by any condition or combination of conditions of release.
I.        Factual and Procedural Background

          A criminal complaint in this action was filed on December 5, 2024. See Dkt. No. 1; see

also No. 24-MJ-645 (RML). Defendant, a legal permanent resident of the United States, is charged

with being a stowaway on an aircraft, in violation of 18 U.S.C. § 2199. See Dkt. No. 1. According

to the criminal complaint, “[o]n or about November 26, 2024, [Defendant] snuck onto Delta

Airlines flight DL264 at [John F. Kennedy International Airport (JFK)] without a boarding pass

and flew as a stowaway to Charles de Gaulle Airport” in Paris, France. Id. at 2. 1 Specifically,

Defendant arrived at JFK Terminal 4 at approximately 8:13 p.m. on or about November 26, 2024.

Id. At approximately 8:24 p.m. on the same date, she attempted to pass the Transportation Security

Administration (TSA) security checkpoint in Terminal 4. Id. Defendant was turned away by a

TSA official after she was unable to show a boarding pass. Id.

          Approximately five minutes later, at 8:29 p.m. on November 26, 2024, Defendant again

attempted to pass the same checkpoint by entering through a lane designated for airline employees

“masked by a large Air Europa flight crew.” Id. at 3. Defendant’s second attempt was successful,

and after she was screened by the TSA along with other ticketed airline passengers, Defendant

proceeded to JFK gate B38.           Id.   Defendant then boarded Delta flight number DL264 at

approximately 10:03 p.m. on November 26, 2024. Id. According to the complaint, “Delta agents,

who were busy helping ticketed passengers board, did not stop her or ask her to present a boarding

pass before she boarded the plane.” Id.

          Defendant’s flight departed JFK at 10:37 p.m. on November 26, 2024. Id. Before the

plane landed at Charles de Gaulle Airport in Paris, Delta employees asked Defendant to present

her boarding pass, which Defendant was unable to provide. Id. Realizing that she was an



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    Page citations are to the ECF-stamped pages.
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unauthorized passenger, Delta employees notified French law enforcement prior to landing that

Defendant was on the plane as a stowaway. Id.

        When the flight landed at Charles de Gaulle Airport on or about November 27, 2024,

French law enforcement authorities met Defendant at the gate. Id. After determining that

Defendant did not possess a passport or boarding pass, law enforcement detained Defendant before

she entered customs. Id.

        According to the complaint, on December 4, 2024, Defendant flew back to JFK from

Charles de Gaulle Airport. Id. Upon Defendant’s arrival at JFK, law enforcement officials

escorted Defendant from the gate to an interview room at the airport, where she purportedly

admitted to flying as a stowaway on Delta flight DL264. Id. at 3-4. Among other things, the

complaint asserts that Defendant conceded “she did not have a plane ticket and that she

intentionally evaded TSA security officials and Delta employees so that she could travel without

buying one, including by looking for opportunities to circumvent them when she knew they would

ask for her boarding pass.” Id. at 4. When shown images of airport security footage that depicted

Defendant bypassing TSA officials and Delta employees who were supposed to check for her

boarding pass, Defendant confirmed that the images were of her. Id. Defendant also told the law

enforcement officials that she knew her conduct was illegal. Id.

        On December 5, 2024, Defendant was presented before the Court for charges in the Eastern

District of New York, where she waived a preliminary hearing. See Text Order dated December

5, 2024; Dkt. No. 2. 2 The parties agreed to a temporary one-day order of detention so that

Defendant could return to Court on December 6, 2024 with a proposed bail package. See Dkt. No.

8 (Transcript).


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 A Russian-language interpreter appeared for Defendant at all court proceedings in this action and in the
Western District of New York.
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       On December 6, 2024, a bail hearing was held. See Text Order dated December 6, 2024;

see Dkt. No. 9 (Transcript). The Government did not seek detention, noting that there was “no

indication [] that [Defendant is] a danger right now” and that this was a “bailable case,” as “there

are conditions that can mitigate against a flight risk.” Dkt. No. 9 at 12-13. The Government

requested GPS location monitoring as part of Defendant’s conditions of release, affirming that it

would reasonably assure her presence in court. See id. at 12-14. Defendant requested that she be

released with certain conditions but without GPS location monitoring, as she had no criminal

history or record. See id. at 7. A friend of Defendant, Mr. Silouan Mathew, appeared at the hearing

and offered to provide his residence as the Court-approved residence for Defendant. See id. at 23-

26.

       Consistent with United States v. Sabhnani, 493 F.3d 63 (2d Cir. 2007) (Raggi, J.), and in

light of the Government’s position, the Court ruled in favor of the Government and permitted

Defendant to be released subject to multiple conditions. See Sabhnani, 493 F.3d at 64 (“The

government’s ability to identify such conditions [that could adequately assure defendants’

presence at trial] and the defendants’ willingness to accede to them preclude a conclusion in this

case that no conditions of release would reasonably assure the defendants’ presence at trial”).

Defendant was required to abide by the following conditions, as set forth in the Order Setting

Conditions of Release:

       (1) The defendant must appear in court as required and surrender as directed for
       service of any sentence imposed.
       (2) The defendant must not commit a federal, state or local crime while on release.
       (3) The defendant must cooperate in the collection of DNA sample if it is authorized
       by 34 U.S.C. § 40702.
       (4) The defendant must advise the Court in writing before making any change in
       residence or telephone number.
       (5) The defendant must not possess a firearm, destructive device or other dangerous
       weapon.


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       (6) The defendant must not use or unlawfully possess a narcotic drug or other
       controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
       medical practitioner. The Court noted that marijuana is still prohibited under
       federal law.
       (7) [T]he defendant must also:
               (a) submit to pretrial supervision and report to Pretrial Services as directed.
               The defendant is subject to random home contacts and verification of
               employment as deemed appropriate to monitor compliance with the
               conditions of release. The defendant shall notify Pretrial Services as soon
               as possible of any arrests.
               (b) surrender any passport to Pretrial Services and not obtain a passport or
               any international travel document.
               (c) not leave the Eastern District of Pennsylvania (Philadelphia), the
               Southern District of New York, or the Eastern District of New York, except
               for travel to and from court.
               (d) not have any contact with any co-defendants, victims, or witnesses
               except in the presence of counsel.
               (e) maintain residence at a location approved by Pretrial Services.
               (f) undergo evaluation and treatment for mental health problems, as directed
               by Pretrial Services.
               (g) be subject to a curfew as directed by Pretrial Services.
               (h) be subject to GPS location monitoring.
               (i) not be permitted to enter any airports.

See Order Setting Conditions of Release, Dkt. No. 5; Text Order dated December 6, 2024.

       Defendant signed the Order Setting the Conditions of Release and acknowledged that she

was aware of such conditions. See Dkt. No. 5 at 2. As set forth in the Order, Defendant

acknowledged that “violating any of the foregoing conditions of release may result in the

immediate issuance of a warrant for [her] arrest, a revocation of [her] release, and order of

detention, [] and a prosecution for contempt of court and could result in imprisonment, a fine, or

both.” Id. The Court informed Defendant that if she failed to appear in Court as required or if she

violated any of the conditions of her release, she “may then be held without bail until [] trial.” Dkt.

No. 9 at 33.




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       Defendant verbally acknowledged that she understood the penalties for violating the

conditions of her release. Id. at 35 (“Court: Do you understand the penalties for a violation of any

condition of your release and your failure to appear? THE DEFENDANT: I do. Fine.”).

       On the morning of December 15, 2024, a U.S. Pretrial Services Officer from the Eastern

District of Pennsylvania contacted a U.S. Pretrial Services Officer from the Eastern District of

New York and advised that Defendant had removed her GPS location monitoring bracelet and that

her whereabouts were unknown. Contact was made with Defendant’s roommate, Mr. Mathew,

who sent a photograph of the location monitoring bracelet on the floor of the residence in which

Defendant had been residing.

       The Court immediately granted Pretrial Services’ petition to revoke bail release conditions

and directed Pretrial Services to prepare and process a warrant application for the Court’s

signature. An arrest warrant was issued by the Court on December 15, 2024.

       Defendant was apprehended by law enforcement officials on or about December 16, 2024

as she attempted to enter into Canada at a crossing at the Peace Bridge Port of Entry. Defendant

appeared before Magistrate Judge Michael J. Roemer on December 17, 2024 for a removal hearing

pursuant to Fed. R. Crim. P. 5. See No. 24-MJ-5222 (MJR) (W.D.N.Y. 2024), Dkt. Nos. 1-2. At

the December 17, 2024 hearing, the Government moved for detention. See Dkt. No. 2. Judge

Roemer ordered that Defendant be committed to the Eastern District of New York and remanded

her to the custody of the U.S. Marshal Service. No. 24-MJ-5222, Dkt. Nos. 2-3.

       On January 13, 2025, Defendant was indicted and charged with one count of being a

stowaway on an aircraft. See Dkt. No. 10. Defendant was arraigned on January 15, 2025. A

detention hearing occurred on the same date.




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II.     Revocation of Release and Detention Order Under 18 U.S.C. § 3148(b)

        A.      Legal Standards

        Section 3148 of Title 18 provides for sanctions that may be imposed if a defendant released

under 18 U.S.C. § 3142 violates a condition of that release. 18 U.S.C. § 3148. “A person who has

been released under section 3142 of this title, and who has violated a condition of his release, is

subject to a revocation of release, an order of detention, and a prosecution for contempt of court.”

18 U.S.C. § 3148(a); United States v. Shields, No. 22-CR-00526 (JMA) (ST), 2024 WL 3925829,

at *6 (E.D.N.Y. Aug. 23, 2024).

        Section 3148(b) permits the government to file a motion with the Court to initiate a

proceeding for revocation of an order of release. See 18 U.S.C. § 3148(b). A judicial officer may

issue an arrest warrant for an individual charged with violating any conditions of release, and that

individual shall be brought before a judicial officer in the district in which such person’s arrest

was ordered for a proceeding. Id. “The judicial officer shall enter an order of revocation and

detention” if, at the hearing, the judicial officer:

        (1) finds that there is (A) probable cause to believe that the person has committed
        a Federal, State, or local crime while on release; or (B) clear and convincing
        evidence that the person has violated any other condition of release; and

        (2) finds that (A) based on the factors set forth in section 3142(g) of this title, there
        is no condition or combination of conditions of release that will assure that the
        person will not flee or pose a danger to the safety of any other person or the
        community; or (B) the person is unlikely to abide by any condition or combination
        of conditions of release.

Id. (emphasis added); Shields, 2024 WL 3925829, at *6; United States v. LaFontaine, 210 F.3d

125, 130 (2d Cir. 2000) (“A district court may revoke an order of release under 18 U.S.C. § 3148(b)

if, after a hearing, the court determines either that there is probable cause to believe that the person

has committed a Federal, State, or local crime while on release, or that there is clear and convincing



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evidence that the person has violated any other condition of release. In addition, the district court

must find that there is no condition or combination of conditions of release that will assure that the

person will not flee or pose a danger to the safety of any other person or the community, or that

the person is unlikely to abide by any condition or combination of conditions of release.” (internal

quotations and citations omitted)).

        Under the second prong of the inquiry, the factors to be considered under Section 3142(g)

include (1) “the nature and circumstances of the offense charged,” including whether it was

violent; (2) “the weight of the evidence against the person”; (3) “the history and characteristics of

the person”; and (4) “the nature and seriousness of the danger to any person or the community that

would be posed by the person’s release.” 18 U.S.C. § 3142(g)(1)-(4); see also United States v.

Ward, -- F. Supp. 3d --, 2024 WL 4116206, at *2 (E.D.N.Y. Sept. 9, 2024) (articulating standard);

Shields, 2024 WL 3925829, at *5 (applying standard to revocation of release). Under subsection

(3), the text of the statute “provides an illustrative list of factors that relate to a defendant’s personal

history and characteristics, including ‘the person’s character, physical and mental condition,

family ties, employment, financial resources, length of residence in the community, community

ties, past conduct, history relating to drug or alcohol abuse, criminal history, and record concerning

appearance at court proceedings [under 18 U.S.C. § 3142(g)(3)(A)].’ Furthermore, subsection

(g)(3)(B) instructs the court to consider whether the defendant was under court supervision when

[s]he was arrested or committed the charged crime.” United States v. Zhang, 55 F.4th 141, 149

(2d Cir. 2022) (internal citations omitted).

        “The Second Circuit Court of Appeals has indicated that a finding that the defendant is a

flight risk or danger will presumably support a finding that the person is unlikely to abide by

conditions of release, and vice versa.” United States v. Parker, 65 F. Supp. 3d 358, 363 (W.D.N.Y.



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2014) (citing United States v. Gotti, 794 F.2d 773, 776 n.3 (2d Cir. 1986)). “It is well established

that the Government may proceed by proffer at a bail revocation hearing.” United States v. Brooks,

872 F.3d 78, 85, n.11 (2d Cir. 2017).

       B.      Application

       Here, the Court finds that revocation of Defendant’s release and an order directing that she

be detained is warranted.

       First, there is clear and convincing evidence that Defendant violated multiple conditions of

her release. The conditions imposed by the Court at the December 6, 2024 hearing included, inter

alia, that Defendant: be subject to GPS location monitoring; abide by a curfew at the assigned

residence as directed by Pretrial Services; and be restricted to travel to the Eastern District of New

York, the Southern District of New York, and the Eastern District of Pennsylvania (Philadelphia)

for court purposes. Defendant failed to abide by any of those conditions.

       Defendant’s destruction of the GPS ankle monitor, her abscondment from her temporary

residence at Mr. Mathew’s home in Pennsylvania, and her subsequent travel to and apprehension

at the Canadian border exhibit that she failed to subject herself to GPS monitoring and adhere to

the curfew imposed by the Court, and that she traveled outside of the relevant districts to which

her movements were restricted. See Minute Entry Dated Dec. 6, 2024; No. 24-MJ-5222, Dkt. Nos.

1-4 (containing information on Defendant’s arrest in the Western District of New York and her

transportation to return to this Court); see also 28 U.S.C. § 112(d) (indicating that Defendant’s

arrest location is within the Western District of New York). Defendant has therefore undoubtedly

violated the conditions of her release. See LaFontaine, 210 F.3d at 133 (noting that bail may be

revoked under Section 3148(b)(1)(B) by a showing of clear and convincing evidence that the

defendant violated a release condition); Shields, 2024 WL 3925829, at *4 (finding that violations



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of similar conditions established by clear and convincing evidence was sufficient under Section

3148(b)(1)(B)); United States v. McGriff, No. 21-CR-383 (WFK), 2022 WL 504459, at *3

(E.D.N.Y. Feb. 18, 2022) (same).

       Next, the Court finds that the revocation of release and detention is warranted under the

second prong of Section 3148(b). Considering the first and second factors under Section 3142(g),

the nature and circumstances of the charged offense and the weight of the evidence support

detention. Defendant is charged with a violation of 18 U.S.C. § 2199, where she attempted to

obtain unauthorized transportation on a Delta Airlines flight departing from JFK without consent.

Dkt. No. 1 at 1. Defendant’s subsequent violation of her conditions of release mirrors the

underlying offense: she attempted to travel outside of the districts in which she was permitted to

travel and depart the United States without obtaining consent from the Government or the Court.

On both occasions, Defendant was discovered and apprehended by law enforcement in areas where

her presence was not authorized. The consistencies shown in Defendant’s behavior prior to and

following her release thus suggest that she will not abide by any conditions of release.

       Concerning the third factor under Section 3142(g), Defendant’s history and characteristics

also favor detention. As noted at the December 6, 2024 hearing, Defendant does not have family

or community ties within this district (or, for that matter, within this country). Nor has it been

demonstrated that she has stable employment or a lengthy history of residence in or ties to a single

community. Rather, her past conduct—including absconding from Court-ordered monitoring and

the Government’s contention that she has attempted unauthorized entry at an airport prior to the

immediate offense—coupled with her representation to the Court that her family is in Europe,

suggest that Defendant will continue her evasive behavior when presented with the opportunity.

See United States v. Wang, 670 F. Supp. 3d 57, 69-70 (S.D.N.Y. 2023) (ordering detention where



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the defendant presented a serious risk of flight because she had no community ties, she was never

employed, and she had no friends or family in the United States), aff’d, 2023 WL 4551637

(S.D.N.Y. July 14, 2023); United States v. Jones, No. 3:12-CR-105 (RNC), 2012 WL 6737784, at

*2 (D. Conn. Dec. 27, 2012) (finding history of repeated behavior on release sufficient to order

detention). That Defendant violated the conditions while she was under Court supervision further

bolsters this finding. See Zhang, 55 F.4th at 151 (“subsection (g)(3)(B) tells the court to consider

whether the defendant was under court supervision when [she] was arrested or committed the

charged crime”).

         At bottom, there is simply no condition or combination of conditions that will assure

Defendant will not again attempt to flee or that she would be likely to abide by such conditions.

See Parker, 65 F. Supp. 3d at 363 (finding that the defendant presented both a flight risk and a risk

of danger); Shields, 2024 WL 3925829, at *6-*7 (revoking release and ordering detention when

the defendant violated several conditions of release); Wang, 670 F. Supp. 3d at 69-70 (detaining

the defendant on similar grounds).

         Accordingly, the Court finds that revocation of Defendant’s release and an order detaining

Defendant are proper under 18 U.S.C. § 3148.

III.     Conclusion

         For the foregoing reasons, the Court enters a permanent order of detention against

Defendant.

Dated:          Brooklyn, New York
                January 15, 2025                      SO ORDERED.

                                                        /s/ Joseph A. Marutollo
                                                      JOSEPH A. MARUTOLLO
                                                      United States Magistrate Judge




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